Case 2:12-cv-02778- _ OBI BEGORRLGANE OBMa 08/28/13 Page 1 of 1

U.S. DISTRICT COURT

This portion remains with Court Records

 

No. LTTE RK Shon Title
To: Copitell aud Wicker

Date R-2g - | 4

Documents Enclosed:
Record Vols:_|

 

 

“Takcot Odour, Clawcler k)

 

 

Address

\\00 Yoydras
New Orleang

 

 

La,

 

 

  

lete tif area below and return this form

 

State Zig

fa

City

WILLIAM W, SLEVING?= th the decuments to 5" Circuit .

 

 

TO: CLERK, 5™ CIRCUIT

 

**KEEP EXHIBITS IN ORIGINAL BOXES/ENVEL CLERK
aie
Attorney Return : Record Vols,
Send Record with Brief of Appellee to 5“ Circuit [_] Supp. Record Vols.
. [> Exhibis O

Records listed above are retumed to Clerk |

ATTORNEY NAMB.
DATE

 

 

 

Clerk's Receipt: To be completed by 5* Circuit Clerk's Office and forwarded to person in previous section

 

No. Short Tile

EASTERN DISTRICT OF LOUISIANA

 

["] Record Vols.
[| Supp. Record Vols.

(_] Exhibits [_]

Records listed above have been received by
Clerk

NAME
DATE

 

Attomey Forwarding Receipt:

If documents are forwarded to another person, complete the section below, detach and return it to: District Court Clerk's Office,

 

No. Short Title

 

TO: CLERK, U.S. DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

 

(} ‘Record Vols,
[_] Supp. Record Vols.

[J Exbibits [7]
Recards listed above have been forwarded to:

ATTORNEY NAME
ADDRESS
CITY, STATE, Zip
SIGNED
DATE

 

 

 

 

 

Atiormey Receipt The area below isto be completed by Original Recipient,

Upon receipt of documents, detach this portion and forward it to District Court Clerk's Office.

 

 

 

No. short Title Fee
_/ Pros
~k kid
TO: CLERK, U.S. DISTRICT COURT __ — poe. No

 

EASTERN DISTRICT OF LOUISIANA

 

[_] Record Vols,
[_} Supp. Record Vols.
[[] Exhibits [7

Case records listed above received by:

JUDGE/ATTY NAME
DATE

 

 

 

 

 

 
